Case 18-09108-RLM-11             Doc 793      Filed 09/25/19        EOD 09/25/19 16:21:20        Pg 1 of 2



                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


 In re:                                                      Chapter 11
                           1
 USA GYMNASTICS,                                             Case No. 18-09108-RLM-11

                          Debtor.


                               NOTICE OF MOTION AND HEARING

          PLEASE TAKE NOTICE that on September 19, 2019 USA Gymnastics, as debtor and

debtor in possession in the above-captioned chapter 11 case (the “Debtor”), filed the Debtor’s

Third Motion For Order Extending Period Within Which It May Remove State Court Actions

Pursuant To 28 U.S.C. § 1452 And Rule 9027 Of The Federal Rules Of Bankruptcy Procedure

[Dkt. 777] (the “Motion”), which has been set for a hearing (the “Hearing”) on October 3, 2019

at 1:30 p.m. (prevailing Eastern time).

          PLEASE TAKE FURTHER NOTICE that any objections to the Motion must be filed

by September 30, 2019 at 4:00 p.m. (prevailing Eastern time).

          PLEASE TAKE FURTHER NOTICE that if no objections to the Motion are filed, the

Hearing will be held telephonically. If objections are filed, the Hearing will be held in Room

329 of the United States Bankruptcy Court, 46 East Ohio Street, Indianapolis, Indiana 46204.

          PLEASE TAKE FURTHER NOTICE that a dial-in telephone number for interested parties

to participate in the Hearing is 1-888-273-3658, passcode: 9247462#. All callers shall keep their

phones muted unless addressing the Court. All callers must identify themselves and the party(ies)




1 The last four digits of the Debtor’s federal tax identification number are 7871.
                                                                                The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
Case 18-09108-RLM-11        Doc 793     Filed 09/25/19     EOD 09/25/19 16:21:20       Pg 2 of 2



they represent when addressing the Court. Callers shall not place their phones on hold during the

Hearing.

       PLEASE TAKE FURTHER NOTICE that copies of the Motion may be accessed through

the case website at: https://omnimgt.com/usagymnastics, or by contacting the Debtor’s attorneys,

on PACER, or from the Clerk of the Court.

Dated: September 25, 2019                           Respectfully submitted,

                                                    JENNER & BLOCK LLP

                                                    By: /s/ Catherine Steege

                                                    Catherine L. Steege (admitted pro hac vice)
                                                    Dean N. Panos (admitted pro hac vice)
                                                    Melissa M. Root (#24230-49)
                                                    353 N. Clark Street
                                                    Chicago, Illinois 60654
                                                    Tel: (312) 923-2952
                                                    Fax: (312) 840-7352

                                                    csteege@jenner.com
                                                    dpanos@jenner.com
                                                    mroot@jenner.com

                                                    Counsel for the Debtor




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